      Case 2:21-cr-00455-MHT-SMD Document 55 Filed 11/04/21 Page 1 of 2




               IN THE UNITED STATES DISTRICT COURT FOR THE
                       MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION

 UNITED STATES OF AMERICA                      )
                                                )
 v.                                            )       Case No. 2:21cr455-MHT-SRW
                                                )
 BRENT COLON EASTERLING                         )
 KASSI BROOK EASTERLING                        )
 WILLIAM TYLER EASTERLING                       )
 GEORGE WILLIAM EASTERLING                      )

                                          ORDER

       At the October 29, 2021 hearing, William Bradford appeared as retained counsel for

both William T. and George W. Easterling. Chase Dearman appeared as retained counsel

for both Brent C. Easterling and Kassi B. Easterling. The court instructed both attorneys

that if their clients wished to have their counsel represent both themselves and a co-

defendant, counsel must file a notice to that effect on or before November 2, 2021, and the

court would then set a hearing. The court also instructed counsel to confer and provide, in

the notice, a hearing date that would be amenable to all parties and counsel. This was

reiterated in the November 2 arraignment order. Doc. 47 at 1, fn. 1 (“Mr. Dearborn and Mr.

Bradford are reminded to file a notice with the Court, as directed at arraignment, by today’s

date, November 2, 2022, indicating whether each of them continues to desire to represent

two defendants and, if so, providing the court with several proposed dates and times for

the hearing required under those circumstances.”).

       While defendants William T. and George W. Easterling have filed waivers of

conflict, Docs. 49-50, Brent C. Easterling and Kassi B. Easterling have filed nothing at all.

Further, neither counsel has actually followed the court’s instructions. Accordingly, it is
      Case 2:21-cr-00455-MHT-SMD Document 55 Filed 11/04/21 Page 2 of 2




      ORDERED that this matter is set for hearing on November 10, 2021 at 10:30 a.m.

via Zoom. Counsel and all four defendants shall appear for the hearing.

      DONE, on this the 4th day of November, 2021.

                                                       /s/ Susan Russ Walker
                                                       Susan Russ Walker
                                                       United States Magistrate Judge
